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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 18-CR-80166-DMM

  UNITED STATES OF AMERICA
            Plaintiff,
  V.

  NICHOLAS WUKOSON,
            Defendant.
                                            I

                         MOTION TO SUPPRESS SEARCH WARANT

         COMES NOW, the Defendant, NICHOLAS WUKOSON, who respectfully requests that

  this Honorable Court convene a hearing and thereafter suppress the fruits of a search warrant

  executed on December 4, 2017, upon the residence of the Defendant NICHOLAS WUKOSON

  at 807 University Boulevard, Apartment 10 Jupiter, Florida. As grounds therefore undersigned

  counsel would state the following:

                                       STATEMENT OF FACTS

         On December 4, 2017, Federal Agents executed a search warrant on the Defendant's

  premises based upon sworn allegations that the IP address attributable to one of the defendant's

  computers was located at the above address. Based upon surveillance and other investigatory

  leads, the Defendant, was believed to reside at that above address. The search was also based

  upon the assertion that the owner of this computer was accessing child pornography from a Peer

  to Peer (P2P) file sharing network used to share files of child pornography. Once the search

  warrant was executed, the agents also recovered a computer in the hallway closet of the

  Defendant. This computer was black in color and will be referred to as the older computer. The

  newer computer was silver in color and will be referred as the new computer. Also, recovered in

  the search were a hard drive, two cellular telephones, and an iPad.
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         Ultimately, the Defendant was charged in a Superseding Indictment with six counts of

  Possession of Child Pornography; Trial in this matter is set for March 25, 2019.


                 THE AFFIDAVIT IN SUPPORT OF THE SEARCH WARRANT

         The Affidavit in support of the search warrant (Exhibit A) in pertinent part alleged as

  follows:


         "IV Background of the investigation

         17. On September 25, 2017, law enforcement, while working in an undercover
         capacity, was signed into the internet through a computer located in the Miami
         Division of the FBI. Law enforcement utilized an enhanced version of a publicly
         available P2P file sharing program (Bit Torrent) to identify individuals sharing
         images and/or videos which depicted the sexual exploitation of children.

         18. During the investigation, a computer was identified on the BitTorrent client
         P2P file sharing network that was associated with a torrent file believed to contain
         files that depict child pornography. Specifically, IP address 75.74.212.126
         (hereinafter referred to as "Target IP address") was listed as utilizing Bit Torrent
         and sharing files with hash values of images and videos of suspected child
         pornography.

         19. On September 25, 2017, law enforcement successfully completed the
         download of several video files depicting child pornography that the computer at
         the Target IP address was making available.

         20. Law enforcement reviewed all of the files. It was determined that all of the
         files depicted children under the age of 18 years (18) engaged in sexual acts/or
         poses consistent with child pornography. A sample of three (3) of the files
         download are described as follows:

         A) File name: (Pthc) 10 yo Irisa.Anal.mpg

         This video depicts a prepubescent female on all fours with what appears to be the
         hands of an adult male touching the girl's anus and vagina with an unknown
         object. The video transitions to what appears to be the same prepubescent girl
         laying naked on a bed playing with and fondling her vagina, with the camera
         zooming in on her vaginal area. The third position, the video shows an adult male
         penetrating a prepubescent girl with his penis while the girl is on all fours and
         then while the adult male is laying down.
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         B) File name: (Pthc) Lily 10 Yo Takes it Fully-8m39S.avi

         This video depicts an adult male digitally and orally penetrating a prepubescent
         female's vagina and then the adult male has vaginal sex with the juvenile female.

         C) File name: Russian Lolita 13 yp-SaMix (PTHC)(R@ygold).mpg

         This video is a compilation that depicts a kneeling juvenile female manually
         stimulating a standing adult male; a prepubescent female performing oral and
         digital sex on an adult male; a prepubescent female and an adult male laying on a
         bed having vaginal sex; an adult male digitally and orally penetrating a
         prepubescent female's vagina and then the adult male has vaginal sex with the
         juvenile female; a prepubescent female sitting naked on top of a naked adult male
         while manually stimulating his erect penis."

         These statements were in fact false.

         After the defendant was indicted, the defense hired a forensic expert Richard Connor

  (who is the subject of a separate expert disclosure today).

         Mr. Connor analyzed both the old and new computer, as well as the logs associated with

  these devices, to reach the conclusions which refute the veracity of the assertions made above.

         Mr. Connor made the following findings:

         -   The old computer was last used on February 1, 2017.

             "There were six download sessions on September 25, 2017. I reviewed the
             logs for all six sessions.

                 The logs show that:

                 o (Pthc) 10 Yo Irisa - anal mpg was partially downloaded, not
                   successfully downloaded. 31225728 of 182220672 bytes were
                   downloaded, which means only 17.4% of the video     was
                   downloaded.

                 o (Pthc) Lily 10 Yo takes it fully- 8m39S.avi was successfully
                   downloaded.

                 o Russian Lolita 13 YoSaMix (PTHC)(R@ygold).mpg was
                   partially downloaded, not successfully downloaded. 53895422
                   of 71968772 bytes were downloaded, which means only 7.57%
                   of the video was downloaded.
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                     I did not see any evidence indicating that any of these three files had been
                 on the new computer. These files were on the old computer."

            Obviously, the fact that the old computer had not been used since February 1, 2017,

  further destroys the veracity of the assertions contained in the above affidavit.

             Moreover, there is no factual support for the search warrant affidavit's assertion that Law

  Enforcement successfully completed the download of the above videos on September 25, 2017.

             Mr. Connor's additional findings, also destroys any possible argument that other files

  were successfully downloaded by the FBI between June 24, 2017 and August 23, 2017 (See

  Exhibit B attached hereto).

             Mr. Connor found the following regarding the undercover download logs for this period

  of time:

                 "I examined the undercover torrent download logs provided by the government. They
                 show 96 download sessions between June 27 and November 26, 2017. I do not recall
                 another case where there were more than a few (1, 2 or 3) download sessions. In most
                 cases, the agent tries to do a download, and then gets a search warrant whether or not
                 the download was successful. In this case, the first of 96 download sessions was
                 successful, the blog shows that a cp 1 video, 'bd-company full (Series 1 of beautiful
                 pretty TANYA). wmv', was completely downloaded. I do not know why there were
                 95 additional download sessions. I did not find any evidence that this file was on the
                 computer.

                 In a typical torrent case, it is my experience that the agent searches for known cp
                 torrent, finds an IP address within his jurisdiction, and then attempts a single source
                 download from the target at the IP address. This is the method I usually see in the
                 cases I have handled. It is my understanding; the undercover software can search for
                 only one torrent at a time. I also understand that law enforcement has a database of
                 thousands of torrents that it claims contain cp. It seems highly unlikely, that the agent
                 in this case searched for a specific cp torrents from amongst the thousands available,
                 and got 96 hits from the same ip address.

                 It may be possible, that the undercover software can be set up to monitor an IP
                 address and attempt a download whenever the IP address is online and sharing
                 torrents. If this occurred in this case, there should be some record of how and when


  1
      Cp refers to Child Pornography.
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               the IP address was first identified as having cp, and I have not seen any record of that
               in this case."

            In short, there is no factual support for the alleged assertions contained in either, the

  search warrant in this case, nor the other evidence gleaned from the FBI's investigation in this

  matter.

                                        MEMORANDUM OF LAW


            In Franks v Deleware, 438 US 154 (1978), the Supreme Court considered the issue of

  whether a defendant in a criminal proceeding has the right, under the Fourth and Fourteenth

  Amendments, to challenge the truthfulness of factual statements made in the affidavit supporting

  a search warrant. The Court held that where a Defendant makes a substantial preliminary

  showing that an affiant knowingly and intentionally included a false statement in an affidavit, or

  made the false statement in reckless disregard of its truth, and the false statement was necessary

  to the finding of probable cause then constitutional mandate requires that a hearing be held at the

  Defendant's request. There must be a preliminary showing that a material omission or false

  statement can be proven, not a mere allegation or an unsupported request for hearing. United

  States v Barsoum, 763 F.3d 1321, 1329 (11th Cir. 2014); insignificant and immaterial

  representations or omissions will not invalidate a warrant. United States v Reid, 69 F.3d 1109

  (11th Cir. 1995); United States v Glinton, 154 F.3d 1245 (11th Cir. 1998); United States v

  Jenkins, 901 F.2d 1075 (11th Cir. 1990); United States v Abolaez, 450 F3d 1283,1294 (11th Cir.

  2006); United States v Kapordelis, 569 F.3d 1291,1308-1310 (11th Cir. 2009).

            If the Defendant shows that there are misrepresentations in a search warrant affidavit then

  the court must decide whether, not including the false information (and including any omitted

  favorable information), there was still probable cause to search the location; United States v
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    Cross, 928 F.2d 1030 (11th Cir 1991); United States v Weber, 808 F.2d 1422 (11th Cir. 1987);

    United States v Kirk, 781 F.2d 1498 (11th Cir. 1986); United States v. Kapordelis, 569

    F.3d 1291, 1308-1310 (! Ith Cir 2009); and Untied States v Gamory, 635 F.3d 480 (11th Cir

    2011).

             Here, the Defendant has made the substantial preliminary showing that the affiant made a

    knowing and intentional false statement in the affidavit or a statement in reckless disregard of the

    truth, without which the Government cannot demonstrate probable cause for this search. Thus, a

    hearing is necessary, which the defense requests this Honorable Court to convene. This is much

    more than an unsupported and insignificant or immaterial representation.

             Finally, even including any omitted favorable information (see exhibit B), the affidavit

    and supporting evidence fails to supply the probable cause necessary to support this search

    warrant.

             FOR THE FOREGOING reasons, this Honorable Court should convene a hearing, take

    testimony, and thereafter suppress the search warrant in this case.




Dated: March 13, 2019

                                                    Respectfully submitted,

                                                    Michael B. Cohen, Esq.
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                                                                           I


                                                    Michael B. Cohen, Esq.
                                                    Attorney for Defendant Nicholas Wukoson
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                 Exhibit A
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                                                                                        ~   l of 1 -
                   5-S-10)

                                                                 FEDER\L BLREAl! OF INVESTIGATION




                                                                                                                                                                    {19/0l,/2017



      On August ~.,._....2-0..l+, OC::E Symbol 7113, whi1e work:i.r19 in an unci~over
      capacity, y~s signed into the internet through kl computer located :in Uie
      Miami Di vision of the Federal Bureau of Investigation ( F'BI) . ocr:: ~£31
      71_~ized an enhanced ve~~-~-~!LQ.!._3: pt15:J~isJ~ivaila~-~'.~-~-l'.'_ !:.9-_p~er
      (P2P) fUe sh,3.ring program (BitTor~ to identify imUviduals sharing
           '    ---                          <           •-.,,,..._,_.   ·--:-::"   •                                        •   •    >                  ...   '
      images or videos whic~ aepicted the sexual explo1tation of chiiaren.

       Session Summary:

       UMM Session:                                                             UMM982

       Date of Session:
                 r--                                                     C;une ~-1..Q.l.1.._t_o                Augu~

       Identified IP Address:
                                                                                             ---
                                                                                75. 71.,.2..12 .126

       On the above dates, OCE Symbol 7113 successfully completed the download of
       several file (s) that the computer at IP address 7'.',. 74. 212. l?G was making
       available. Some of the files were downloaded in full, partial and some
       files did not download.   The files that were downloaded by OCE 7113 were
       only downloaded from the computer at IP Address 75.74.212.126.~---~
                                                                                                                             ~
         review of the files downloaded, revealed that the files were i~ages of
       child pornography. The files downloaded along with the log files were
       placed on a Cfi3'rd drive and held as evidence.




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Inwnjgati(>n <Jn                      O8 / 31 / 2 01 7             at     Mi.rarnar,        FJ..orida,   United Stz~t:es              lf OthE::C {Cumpu.tcrJ)

Fitdl 305A-MM-106B70                                                                                                                           Date drnfkd         O8/31 / 2 () 1 'i
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AO 106 (Rev. (')4110} Applica1inn for n Search Warrant



                                        UNITED STATES :DISTRICT CO                                                                _ O.C.
                                                                      for the
                                                          Southern District of Florida                                 3 0 2017
                !n the Matter of the Search of                          )
          (Briefly describe the property io be searched                 )
           or identij), the person by name and address)                           Case No. 17-8504-JMH
                                                                        )
    807 University Boulevard, Apartment 104, Jupiter,                   )
                     Florida, 33458                                     )
                                                                        )

                                               APPLICATION FOR A SEARCH WARRANT
        .l, a federal law enforcement officer or an attorney for the government, request a search warrant and stale under
penalty of perjury that I have reason to believe that on the following person or prnpetiy (identify 1!mpaso11 or dcsaibc the
proper~y to he searched and give its location):



located in the               Southern              District of _____F_lo_r_id_a_____ , there is now concealed (id,.mti.Jj, the
person or describe th& proper{\' lo be seized):




           The basis for the search under Fed. R. Crim. P. 4 l (c) is (check one or more):
                ref evidence of a crime;
                1vf contraband, fruits of crime, or other items illegally possessed;
                rr/ property designed for use, intended for use, or used in committing a crime;
                CJ a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
                Code Section                                                      Q/Jense Description
        18 USC Sec, 2252A                            Distribution, Receipt, Possession of Child Pornogarphy



           The application is based on these facts:


            0    Continued on the attached sheet.
            fi                                    days (give exact ending date if more than 30 days:                      ) is requested
                                                                            forthon the .Jed sh:t.
                 Delayed notice of
                 W1de, 18 U.S.C. § 3103a, the basis of which is set                                           /   /     _/




                                                                         ~~~
                                                                                                          1




                                                                                              Applicant'., signature

                                                                                           SA SCOTT WILSON, FBI
                                                                                              Primed name (lnd title




City and state: West Palm Beach, FL




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                                           ATfACHMENT A

            DESCRIPTION AND PHOTOGR.1\PHS OI? PLACE TO BE SEARCI:lf<:I)



     eiectronic storage media found therein, located at 807 University Boulevard} Apartment 104,

     Jupiter, Florida, 33458. Target Premises is a three story tan, white and grey structure. The

     building contains a sign which is written "The Sophia Abacoa/Building 1900" and another one
                                                            '",                  ~

     which is written "The Sophia Abacoa/807 University Blvd". The Target Premises is located on

     the southern end ofthe building. The front door is painted green and the address" J04" is located

     on the upper right side. The door faces a northeasterly direction.




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                                            ATTACHl\iIENT B

                                     Particular Things to be Seized


                   The following items to be seized constitute contraband, fruits, instrumentalities,

   and evidence of crimes, to wit: violations of Title 18, United States Code, Section 2252A.

    (possession, rece~..m...tati.Gpi~1d_ distributio~graphy,):

           1.      Child pornography;

           2.      Visual depictions of minors engaged in sexually explicit conduct;

           3.      Information, conespondence, records, or other materials constituting evidence of

    or pertaining to child pornography and visual depictions of minors engaged in sexually explicit

    conduct, or constituting evidence of or pei1aining to the receipt, distribution, or transmission

    through interstate or foreign commerce of items "1" and "2" above, or constituting evidence of or

    pertaining to an interest in child pornography or sexual activity with children, including;

                   a.      Correspondence or communications, such as electronic mail, chat logs, and

    electronic messages;

                   b.      lllternct usage records, user names, logins, passv,/Ords, e-mail addresses and

    identities assumed for the purposes of communication on the Internet, biUing, accounts, and

    subscriber records, chat room logs, chat records, membership in online groups, clubs or services,

    connections to onlinc or remote computer storage, and electronic files;

                   c.      Diaries, address books, names, and lists of names and addresses of

    individuals who may have been contacted by the computer and internet websites;

                   cl.     Shared images, "friends lists'' and "thumbnails"; and

                   c.      Financial records, including credit card inibrmation.

           4.      The items listed in "l" through "3" above may be seized in whatever fom1, visual




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    or aural, and by any means by which they may have been created, stored, or found, including:

                   a.       Any computer, computer hardware (including inputloutput peripheral

    devices), computer sofhvare, router, computer-related documentation, related peripherals, and

    digital cameras., including:

                           i.tapes, tape systems, and tape drives, cassettes, disks, disk drives, disk

    application programs, data disks, system disk operating systems, rnagnetic media floppy disks;

                          ii.hard drive and other computer related operation equipment;

                          iii.monitors, printers, 1nodems, scanners;

                          iv.hardware and sofhvare manuals, passwords, data security devices;

                          v.related documentation;

                    b.       Handmade form, including \Vritings, drawings, paintings;

                    c..      Photographic form, including microfilm, rnicmfichc, prints, slides, motion

    picture, films, videos and photocopies;

                    d.      Graphic     interchange    formats    and/or    photographs,     undeveloped

    photographic film, slides, and other visual depictions of such graphic interchange formats

    (including but not limited to JPG, CHF, TlF, AVJ, IvfPG, and MPEG);

                    e,       Mechanica1 form, including books, magazines, printing and typing;

                    L        Electrical, electronic or magnetic form, including

                           i.tape recordings, cassettes, compact disks, backup tapes;

                           ii.electronic or magnetic storage devices such as floppy diskettes, hard disks,

    CD-ROMS, digital video disks (DVDs), Personal Digital Assistants (PDAs), Multimedia Cards

    (MiVtCs), memory sticks, flash memory devices, optical disks, smart cards, or electronic

    notebooks; cellular phones, smart phones, smart televisions, iPods, onlinc gaming systems (i.e.




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   xBox, PlayStation), smart watches, tablets; and

                          iii.digital data files, printouts or readouts from any magnetic, electrical or

   electronic storage device;

                   g.       Originals, photocopies, other copies and negatives; and

                   h.       Coping digital evidence stored on a server (s) in another location, including

   cloud storage, if the server can be remotely accessed from a computer(s) located at the site

   authorized to be searched by the approval of this court order which gives law enforcement the

   ability to preserve the integrity of the evidence and prevent it from being tampered \Vith or

   destroyed.; and

           5.      Records or documents evklencing occupancy or ownership of tlu:: car, including

    utility and telephone bills, mail envelopes, or addressed correspondence.

           6.        Records or documents evidencing ownership or use of computer equipment found

    in the car, including sales receipts, bills for Internet access, and handwritten notes.

            7.       For any digital device or storage medium whose seizure is othe1wise authorized by

    this warrant, and any computer or storage medium that contains or in which is stored records or

    infonnation that is otherwise called for by this warrant:

                     l.      evidence of who used, owned, or controlled the devices at the time the

    things described in this warrant were created, edited, or deleted, such as logs, regfatry entries,

    configuration files, saved usernamcs and passwords, documents, browsing history, user profiles,

    email, email contacts, "chat," instant messaging logs, photographs, and co1Tespondence;

                     2.      evidence indicating how and when the digital devices was accessed or used

    to detennine the chronological context of computer access, use, and events relating to crime under

    investigation and to the computer user;




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                   3.      evidence indicating the di 6r:ital devices user,s state of mind as it relates to

   the crime under investigation;

                   4.      evidence of the attachment to the digital devices of other storage devices or

    similar containers for electronic evidence;

                   5.      evidence of counter-forensic programs (and associated data) that are

    designed to eliminate data from the digital devices;

                   6.      evidence of the times the digital devices \Vas used;

                   7.      passwords, encryption keys, and other access devices that may be necessary

    to access the digital devices;

                           documentation and manuals that may be necessary to access the digital

    devices or to conduct a forensic examination of the digital devices.:

                   9.       information about internet protocol addresses used by the digital devices;

                    10.     records of or infonnation about the digital device' s Internet activity,

    including fire\vall logs, caches, browser history and cookies, "bookmarked" or "fr1vorite" \Veb

    pages, search tcm1s entered into Internet search engines, and records of user-typed web addresses;

                    11.     Routers, modems, and network equiprnent used to connect to the Internet




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                          AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

                                      I. AJ<'li'IANT'S BACKGROUND

         I, Scott Wilson, having been first duly sworn, do hereby depose and state as follows:

           l.       I am a Special Agent w.ith the Federal Bureau of Investigation (".FBI") and have

    been so employed since 2002. I am currently assigned to the Miami Field Office, Palm Beach

    County Resident Agency, violent crimes squad, which investigates        an manners of violent crimes,
    including the online sexual exploitation of children. As part of 1ny duties, I investigate crimes

    involving the sexual exploitation of minors including the production, possession, and clistlibution

    of child pornography.      l received training on the proper investigative techniques for these

    violations, including the use of surveillance techniques, undercover activities, and the application

    and execution of arrest and search ,:vammts.        I have conducted and assisted in several child

    exploitation investigations, and have executed search warrants that have led to seizures of child

    pornography.

           2.       This affidavit is made in support of an application for a warrant authorizing the

    search of a residence located at 807 University Boulevard, Apartment 104, .Jupiter, :Florida,

    33458 (hereinafter, the "Target Premises"),
     ~                                  ...
                                       '\'""""'_   _
                                                as more particularly described in Attachment A of this

    affidavit, and any computers and electronic mobile devices and electronic storage media found

    therein.

               3.    Based on the information set forth in this affidavit, there is probable cause to believe


                                                                                                ~--
    that at the Target Premises there exist fruits, instrumentalities, and evidence of the possession,

    receipt, transportation, and distribution of child pornography, in violation ofTitlc 18, Unhed States
                                                                    ----..,,.
    Code, Section 2252. I am requesting authorlty to search       the entire Target Premises, including the
    residential dwelling, any storage unit assigned to that dwelling, any computers or electronic media,
                                                                         ,~---------


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    any electronic mobile devices used to access the Internet, and any electronic storage media stored

    therein, for the items specified in Attachment B, hereto, which items constitute fruits,

    instrumentnlities, and evidence of the foregoing violations.

           4.      Since this affidavit is being submitted for the limited purpose of securing a search

    warrant, I have not included each and every fact known concerning this investigation. J have

    included only those facts and circumstances that I believe are sufficient to establish probable cause

    fr,r the issuance of the requested search warrant.

           5.      The statements contained in this affidavit are based upon my investigation,

    information provided by other swom law enfixcernent officers and other personnel specially

    trained in the seizure and analysis of computers and electronic mobile devices and electronic

    storage devices, and on my experience :md training as a federal agent.

                                          STATUTORY AUTHORITY
                                                     ----7

           6.      Title 18, United States Code, Section 2252(a) prohibits a person from knowingly

    transpmting, shipping, receivi11g, distributing, reproducing for distribution, or possessing any

    visual depiction of minors engaging in sexuaHy explicit conduct when such visual depiction was

    either mailed or shipped or transported in interstate or foreign commerce by any means, including

    by computer, or when such visual depiction \Vas produced using materials that had traveled in

    interstate or foreign commerce.

           III.     PEER-TO-PEER I~ILEJil!ARING ON THE BITTORRENT NETWORK
                        •4                                                                , "''""-'"''~'~,~"'"'"'l



            7.     Millions of computer users throughout the world use peer-to-peer (P2P) file sharing

          ,___
    networks to share
                   ,.,-· files containing music, graphics, movies and text. These networks have also

    become a popular way to download and distribute child pornography. Any                                 user \vho
                                                                                     --·-------,.-.;;).




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   can connect to the internet can download P2P application sofrwarc, which is typically free, and
                                                                                         "'---------~
   use it to share files through a P2P network.

            8.         The BitTorrcnt network is a very popular and publically available P2P file sharing

    network. Most computers that are part of this network are referred to as "peers" or "clients". A

    peer/client can simultaneously provide files to some peers/clients while downloading files from.
                                   .----------                                         --------  ..

    other peers/clients.

            9.         The BitTorrent network can be accessed by peer1client computers via many

    different BitT01Tent network client (software) programs, examples of which include the

    client P~<!m, uTonent client                   and Vuzc client program, among others. These client
      ~-                                     --------------
    programs are publically available and typically free P2P client software programs that can be

    dmvnloaded from the Internet

            10.        During the installation of typical BitTorrent network client programs, various

    settings are established which cottfigure the host computer to share files via automatic
                  .r



    uploadiq~l)rypically, as users download files or pieces of
       ~          ,_
                                                                         file:-;~:1~   other peers;clients on the
                                           ~,,.~-----·~--·-··--·--·---·-·-·-·--·--·~--·~·---~   ~--_.....,---,--~~"

    BitTorrent network, other users (peers/clients) on the network are able to download the files                     or



  ciis
    ✓-~--




           an example, during the downloading and installation of the publica!ly available uTorrent
   , client program, the license agreement for the software states the following: "Automatic
     Uploading. uTorrent accelerates downloads by enabling your computer to grab pieces of files
     from other uTorrcnt or BitTonent users simultaneously. Your use of the uTorrent software to
     dO\vnioad files will, in turn, enable other users to download pieces of those files from you, thereby
     maximizing download speeds for all users. fn uTonent, only files that yon are explicitly
     downloading or sharing (seeding) will be made available to others. You consent to other users'
     use of your network connection to download portions of such files from you. At any time, you
     may uninsta11 uTorrcnt through the Add/Remove Programs control panel utility. ln addition, you
     can control uTorrent in multiple ways through its user interface without affecting any files you
     have already downloaded, thereby maximizing download speeds for all users.




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   pieces of files from them, a process which maximizes the download speeds for all users on the
                              -------                           "-----------'
   network. Once a user has completed the download of an entire file or files, they can also continue
   ...----:;,
                              -        _____
   to share the file with indiv~~n the BitTorrent
                                             _,;  network
                                                   ~ ~ - who are attempting to download all



   pieces of the file or 61cs_~()~~d to as~~,~~;/.\

           l l.    Files or sets of files are shared on the BitTorrent network via the use of
                                                               ~




   "Tor~C}l~~:.,_.A_~~Tm:rcnt'.:.js typically a small file that describes the file(s) to be shared. 1t is

                                                              actual file(s) to be shared, but infonnation
                             --------,
   about the fiJe( s) to be shared needed to              a download. This information includes things

   such as the name(s) of the file(s) being referenced in the "Torrent" and the "info hash" of the

                                                         value of the set of data describing the fiie(s)

   referenced i~QJ1t". This set of data includes the SHA-I hash value of each file piece in

   the torrent, the file size(s), and the file name(s). The "info hash" of each "Ton-ent" uniquely

   identifies the "Torrent" file on the BitTorrent network.        The "Torrent" file-m0:y-~lsf> contain

   information    on   how    to   locate   file(s)   referenced   in   the   "Torrent"         identifying

   "T~ckers•0:~~re computer~ent netw()tk that                                   con~      i~fonnation about



   !21The Secure Hash Algorithm (SHA) was developed by the National Institute of Standards and
   Technology (NIST), along with the National Security Agency {NSA), as a means of identifying
   files using a digjtal "fingerprint" that consists of a unique series ofletters and numbers. The United
   States has adopted the SHAl hash algorithm. described herein as a Federal Information Processing
   Standard. SHA~ I is the most widely used of the existing SHA hash functions, and is employed in
   several widely used applications and protocols. A file processed by this SHAl operation results
   in the creation of an associated hash value often referred to as a digital signature. SHA 1 signatures
   provide a certainty exceeding 99.99% that two or more files with the same SHAl signature are
   identical copies of the same file regardless of their :file names,




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    file. A
              •"s---::;::,--
                                                                                              ---
    the peers/clients that have recently reported they are sharing the file(s) referenced in the "Torrent"

                               only a pointer to peers/clients on the network who may be sharing part or aH

    of the fi!s2{s) r~ferenced in the w~QITeD:1"· "Trackers" do not actually have the fiie(s) but arc used

    to facilitate the finding of other peers/clients that have the entire file(s) or at least a portion of the

    file(s) available for sharing, It should also be noted that the use of"Tracker(s)" on the BitTorrcnt

    network arc not always necessary to locate peers/clients that have file(s) bejng shared from a

    partfoular "Torrent" file. There are many pnblically available servers on the Internet that provide

    BitTorrent tracker services.

          ~~.          In or~er to locati~~o~~=rl,les of interest and download the files that they
                                           ~-/

    describe, a typical user will use key\vord searches on torrent indexing websites, examples ohvhich

    include isohhwu.com and the piratebay.org. Ton·ent indexing websites are essentially search

    ,mgines that users on the BitTon-ent network use to locate "Torrent" files that describe the files

    they arc looking to download. Torrent indexing websites do not actually host the content (files)

    described by "Torrent" files, only the "Torrent" files themselves. Once a "Torrent" file is located

    on the webs.ite that meets a user's keyword search criteria, the user \Vil! download the "Torrent"
                                     -----------·-·······
    file to their computer. The BitTorrent network client program on the user's computer will then
        .         ---,                              /_.,.---···~..•,
    process that "Torrent'' file. in order to find "mck:€-rs'' 01) utilize other means that will help facilitate

    finding other peers/c~on the network that have all or part of the file(s) referenced in the

    "Ton·ent" file. It is again important to note that the actual file(s) reforenced in the "Torrent" are

    actually obtained directly from other peers/clients on the BitTorrcnt network and not the

    "Trackers" themselves. Typically, the "Trackers" on the network return infonm1tion about remote

    peers/clients that have recently reported they have the same fi1c(s) available for sharing (based on




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   SHA-1 "info hash" value comparison), or parts of the same filc(s), reforenced in the "Torrent", to

   include the remote peers/clients Internet Protocol (IP) addresses.

            13.     For example, a person interested in obtaining child pornographic images or videos
                                                                  ,.---------
   on the BitTorrent nehvork can go to a torrent indexing website and conduct a keyword search using

    a term such as "preteen sex" or "P!~~:_Ce.:r_~ hiirdQore).,c., The results of the keyv.rord search are
           r--------
    typically returned to the user's computer _by displaying them on the torrent indexing


     -
    website. Based on the results of the keyword search, the user would then select a "Torrent" of

    interest to them to download t~their ~-~~mputer from the \Vebsite. Typically, the Bifforrent client

    program wj!l~~,~~~_the "Torrent'~file.                       Utilizing   ~~ii~1d othe~-~itTorrent net\~~)rk
          ____,.
    protocols, peers/clients are located that have recently reported they have the file(s) or parts of the
                             ~,_,.,_____    -----------~----- ---------------------               --------- -----      ·-- ----

    file(s) referenced in the "'fo1TCnt" file available for _fillllring. The file or files are then downloaded

    directly from the cornputer(s) sharing the file or fi_les, Typically, once the BitTorrent network
                                                                                                  ---------
                        ---------
    client has downloaded part of a ~ e s , it may i~unediately begin sharing the part of the file
                                                                                  ~----·------~,~
                  ,-=•m-•--......_---------~~
    or files it has with other users on the network. The BitTon-ent network client program succeeds in
                                                                                     er•=•                          =c'"




    reassembling t;b.eSili;f§lfrmn-difforent sources only,if__i1J:_c,~eiyes "piece:~\vi!h the exact SHA.~ I


                   --------
    hash value of that piece which is described in the "Torrent" file..'.-The downloaded file or fiies are
                                    .,                 .----......._   ..                              --··----,
    then stored in an area (foldey)~Q.uajy designated by the user and/or the client PE2f,1I(j._m Q.UJhe

    user's computer or designated external storage media. The downloaded file or files, including the
                  ,-,                    -------------                                 ·-                .



    torrent file, will remain in that location until moved or ~~~~~er.
                  ------.---·· --           - ..   -      ·------
            14.      Law Enforcement can search the BitTorrent network in order to locate individuals
                                                                                             .,,.~----------
    sharing previously identified child exploitation mateiial in the same way a user searches this

    network. To search the network for these known torrents can quickly identify targets in their

    jurisc;.;on. Law Enforcement receives this              :i~~;ion fro~3!bt1t peers/clients on


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   the BitTorrent network recently reporting that they are involved in sharing digital files of knmvn
            -------
   or suspected child pornography, based on "info hash'' SHA-1 bash values of torrents. These
                                                                              ------··----:..
   torrents being searched for are those that have been previously identified by law enforcement as

   being associated with such files. There arc BitTorrent network client programs which allow for
                           -~-----·-~
   single-source downloads from a computer at a single IP address, meaning that an entire file or files
                                ------,_                                          ·-·--.--·-·------...
   are dmvnloaded only from a computer at a single IP address as opposed to obtaining the file froir1

   multiple peers/clients-~~tl;~tTorrent netvmrk. This procedure allows for the detection and
                         -~·-----------------
   investigation of those computers involved in sharing digital files of known or suspected child

   pornography on the BitTotmnt net\vork.
                                           ·----------..
                   15.     During the query and/or dO\vnloading process from a suspect BitTorrent net\vork
                                                    -----·--      ____....,_._,
   client, certain information may be excbangedlilifween the investigator's BitTon-ent client program

   and the suspect client program they are querying and/or downloading a file from. This infonnation

   includes 1) the suspect client's IP address; 2) a confirmation from the suspect client that they have

   pieces of the file(s) beiJ1g requested, in whole or in part, and that the pieces of the file(s) is being

   reported as shared from the suspect client program; and 3) the BitTorrent nehvork client program

    and version being utilized by the suspect computer, all of which infom1ation has tbe ability to be
                                                           ----      ~

    logged by law enforcement.

                   16.     The investigation of peer-to-peer file sharing networks is a cooperative effort of

    law enforcernent agencies around the country. Many of these agencies are associated with the
               ---------------
    ............                                                          .,,,,,,--------·-              ------
 ( 'lQ!.~~.iC.c~~ainst Cl~en - ~ -~nvestigative methodology has led to

    the issuance and execution of search ,varrants around the country resulting in the ,mest and

    conviction of numerous offenders possessing and/or distributing child pornography, some of

    which were also involved in the sexual exploitation of actual child victims.




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                                      7
                                           ~---JlAC~0ND OF                INVESTIGATION

            17.       On September 25; 2017, aw enforcement, while working in an undercover

    capacity, was signed into the intemet through a computer located in the Miami Division of the

    FBI.   Law enforcement utilized an enhanced version of a publicly available P2P file sharing
                                                                                                     ~-----
    program (BitTorrent) to identify individuals sharing images and/or videos which depicted the

    sexual exploitation of children.

            I 8.       During the investigation, a compu~r ,vas identifle.d..Dl~Jhe BitTorrent client P2P


                                --.....,
                                                         -               --~
    file sharing netwQrk that ,vas associated with a torrent file believed to contain files that depict child
                                                              ----~--- -------------c__-------··-··--"'--~

    pomograp_p1_:-:~cally, IP ad~~i;; 75.74.2l~eimdkr referred to as "~et ___!P
                                                      '",,_
    Addrc.~1-:Yas listed as utilizing BitTorrent and sharing files with hasl:values of images and videos



            19.         On September 25,201                     enforcement successfully completed the download of

    several video fiies depicting child pomography that the computer at the Target IP Address \Vas
                   .........   ~~:                  --·--------·--•                 --   _ _ _ _ _ _ _ _ _ _ _ ,¥   ~·,




    making available.
        --  20.         Law enforcement reviewed all of the files. It was determined that all ...of the files
                                                                                   .----·---
    depicted children under the age of eighteen (18) engaged in sexual acts and/or poses consistent
                                                        --------·--------
    with child pomography. A sample of three (3) of the files downloaded are described as follows;

                         A) __ File_name: (Pthc) J Oyo Irisa-AnaLmpg

                                       This video depicts a prepubescent female on all four's \Vith what appears to

                                       be the hands of an adult male touching the girl's anus and vagina with an

                                       unknown object. The video transitions to what appears to be the same

                                       prepubescent girl laying naked on a bed playing with and fondling her

                                       vagina, with the camera zooming in on her vaginal area. The third portion




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                          of the video shows an adult male penetrating a prepubescent girl with his

                          penis while the girl is on all fours and then while the adult male is laying

                          down.

                          File name: (Pthc) Lily lOYo Takes It FuHy            8m39S.avi

                          This video depicts an adult male digitally and omlly penetrating a

                          prepubescent female's vagina and then the adult :male has vaginal sex with

                          the juvenile female.

                               name: Russian Lolita 13yp- Sa:Mix (PTHC)(R@ygo1d).mpg

                          This video is a compilation that depicts a kneelingjuvenile female manually

                          stimulating a standing adult male; a prepubescent female perfonning orai

                           and digital sex on an adult male; a prepubescent female and an adult male

                           laying on a bed having vaginal sex; an adult male digitally and orally

                          penetrating a prepubescent female's vagina and then the adult male has

                           vaginal sex with the juvenile female; a prepubescent fomale sitting naked

                           on top of a naked adult male while manually stinmlating his erect penis.

           21.     A search of a publicly available online database indicated that the Targ:etJP-A.ili!r~;:;s

    75.74.212.126 was registered to Comcast.         Results from an administrative subpoena sent to
    /-------
                  --
    Comcast for the date the files were downloaded revealed the Target IP Address was assigned to
                                            "    ,··------·-•---,._.                          -.· - - - ~
                                                                                  -..~-•-.----.


    an account registered to an individual with the initials "N.W." at the Target Premises.
                 ,,~-~~~~--------- ,------,---
           22.   c:·            -  ..;;,-                      ,.•
                                                                     ~--   ~
                                                                                        "'"

                    .n Nov~mber 13, 2 ~ a representative.of.· The Sophia Abacoa apartment complex

    was contacted. rhc-repres~ntative verified that tenan@~,,,Jras lived at the Target Premises since

    approximately May 2016.




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           23.     On November 13, 2017, law enforcement conducted physical surveillance at the

    Target Premises. At approximately 4:21 p.m., a black Ford Fusion bearing Florida license pJate
                                                  ------?                              ~                 -
    B4FGM was observed in the parking lot outside of the Target Premises . The vehicle is registered
           ·----                               ---------                                             ______
                                                                                           -·--·•--,,.

    toN.W.

           24.     A search of the State of Florida Driver and Vehicle Information Database (DAVID)

    for the Target Premises revealed the subscriber "N.W." has the Target Premises as the address of

    record and one other recorg of an adult male with the initials "A.E." who listed the Target Premises

    as the address of record in 2Q.08.
         -------
                                              v.f nEFJNITIONV'                    ""
                                                   "----------
           25.     The following definitions apply to this Affidavit and Attachment B to this

    Affidavit:                    ---····       ·-• ...•'----s


                                 Pomography,"~s used herein, includes the definition in Title 18
                           "~:hild
                                       ---·
                   a.

    u.s.c. § 2256(8) (any visual depiction of sexually explicit conduct \Vhere (a) the production ofthe

    visual depiction involved the use of a minor engaged in sexually explicit conduct, (b) the visual

    depiction is a digital image, computer image, or computer-generated image that is, or is

    indistinguishable from, that of a minor engaged in sexually explicit conduct, or (c) the visual

    depiction has been created, adapted, or modified to appear that an identifiable minor is engaged in

    sexually explicit conduct), as well as any visual depiction, the production of which involves the

    use of a minor engaged in sexually explicit conduct (sec Title 18 U.S.C. §§ 2252 and 2256(2)).
                                 ~----···----···---~
                    b.     •~1i-:Ua1 depictions" in6lude undeveloped film and videotape, and data

                            ~            -----
    stored on computer disk or byelectronic means, which is capable of conversion into a visual image.

    See Title 18 U.S.C. § 2256(5). ,,_---· ---                   ·,-......

                    C.     "Sec   /.--                                       \)

                                            expli:_::duct" means actual or simulated (a) sexual




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   intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal, whether between

   persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic

   abuse; or (e) lascivious exhibition of the genitals or pubic area of any persons. See 18 U.S.C. §

   2256(2).
                            _,,,.,---------"-.,
                   d.      ~~11!.J?Uter," as used herein, is defined pursuant to Title 18 U.S.C. §

   1030(e)(l), as "an electronic, magnetic, optical, electrochemical, or other high speed data

   processing device performing logical or storage functions, and includes any data storage facility

   or communications facility dircctly_relatetH9 or operating in conjunction \Vith such device.''

                    e,      " 0 ~ ~9-waie," as used herein, consists of all equipment which can
                                c:__,
   receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic,

   magnetic, or similar computer impulses or data. Computer hardware includes any data-processing

   devices (including, but not limited to, central processing units, internal and peripheral storage

   devices such as fixed disks, external hard drives, floppy disk drives and diskettes, and other

   memory storage devices); peripheral input/output devices (including, but not limited to, keyboards,

   printers, video display monitors, and related communications devices such as cables and

   connections), as well as any devices, mechanisms, or parts that can be used to restrict access to

   computer hardware (including, but not limited to, physical keys and locks).
                             ,.,------     ------.. ,,_
                             "C mputcr s ~ ~ s used herein, is digital information \vhich can be

   interpreted by a computer and any ofits related components to direct the way they work. Computer

   software is stored in electronic, magnetic, or other digital form. It commonly includes programs



                    g.
                                             -
   to run operating systems, applicatiOJ1'i,_..and-ut:ilities,.____ _

                             "Co puter-related documentation,"
                                                                     ----~a,;   used herein, consists of written,

   recorded, printed, or electron·           ly....~tet·ectmateri;i-~hich explains or illustrates how to configure




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   or use computer hardware, computer software, or other related items.
                                                  "'"'-<.

                   h.
                            .
                                ·"-.   ____
                           ':'Computer prss~~ords and data security devices," as used herein, consists
                                          ,/
                                              I


   of information or items designed to restrict access to or hide computer software, documentation,

   or data. Data security devices may consist of hardware, software, or other programming code. A

   password (a string of alpha-numeric characters) usually operates a sort of digital key to "unlock"

   particular data security devices. Data security hardware rnay include encryption devices, chips,

   and circuit boards. Data security software of digital code may include programming code that

   creates "test" keys or "hot" keys, which perfom1 certain pre-set security fonctions when touched.

   Data security software or code may also encr)1)t, compress, hide, or "booby-trap" protected data

    to make it inaccessible or um sahle,a&-:i.1,;~l as reverse the progress to restore it
                                                            "\

                                 he tenns ~cl{"'"documents," and "materials," as used herein, include
                    i.
                                        ---
    all information recorded in any fon11, visual or aural, and by any means, whether in handtnadc

    form (including, but not limited to, writings, drawings, painting), photographic form (including,

    but not limited to, microfilm, mforofichc, prints, slides, negatives, videotapes, motion pictures,

    photocopies), mechanical form (including, but not limited to, phonograph records, printing,

    typing) or electrical, electronic or magnetic fonn (including, but not limited to, tape recordings,

    cassettes) compact discs, electronic or magnetic storage devices such as floppy diskettes, hard

    disks, CDMROMs, digital video disks (DVDs), Personal Digital Assistants (PDAs), Multi Media

    Cards (MMCs), memory sticks, optical disks, smart cards, or electronic notebooks, as vveU as

    digital data files and printouts or readouts from any magnetic, electrical or electronic storage

    device).

            26.     Because of their simila~:,_capnQjJiti~s,~ cellular phones, smart phones, smart

    televisions, iPods, onlinc gaming systems (i.e. xBox, Playstation), smart watches, and tablets have




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   the same capabilities as computers in so far as they connect to the internet and store media, they

   are considered in the same manner as ''computers" above .
          .,,,,,----~~---        .,   ..~---------·---

     (          VI:· -i ~~D PORNOGRAPHY COLLECTOR CHARACTERISTICS
       '------/)
          27.           Through my experience and training, and that of other FBI Special Agents, the

   following traits and characteristics are generally found to exist and be true in cases involving

   individuals who collect chHd pornography:

                  CJ   ./~,


                               The majority ofindividuals who collect ~~~~~r~persons ,vho

   have a sexual attraction to children. They receive sexual gratification and satisfaction from sexual

   fantasies fueled by depictions of children that are sexual in nature.

                        b.     The majority of

   1ikeminded individuals, either in person or on the internet, to share information and trade

   depictions of child pornography and child erotica as a means of gaining status, trust, acceptance,

   and support. This contact also helps these individuals to rationalize and validate their deviant

    sexual interest and associated behavior.             The different internet based vehicles used by such

   individuals to communicate with each other include, but are not limited to, websites, email, email

    &,rroups, bulletin boards, internet chat programs, newsgroups, instant messaging, and other similar

    vehicles.

                               The m~jority of individuals who collect child pornography often collect,

    read, copy, or maintain names, addresses (including email addresses), phone numbers, or lists of

    persons who have advertised or otherwise made known in publications and on the internet that

    they have similar sexual interests. These contacts are maintained as a means of personal referral,

    ex.change, or commercial profit. These names may be maintained in the <:riginal medium from

    which they were derived, in telephone books or notebooks, on computer storage devices, or merely




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   on scraps of paper.

                                individuals who collect and produce child pornography rarely, if ever,

   dispose oftheir sexually explicit materials and may go to great lengths to conceal and protect them

   from discovery, theft, or damage. These individuals view their sexually explicit materials as prized

   and valuable materials, even as commodities to be traded with other likemimled individuals over

   the Internet. As such, they tend to maintain or "hoard" their visual depictions of child pornography

   for long periods of time in the privacy and security of their homes or other secure locations. Based

   on my training and experience, as well as rny conversations with other experienced 1/rw

   enforcement officers, I know that individuals who produce, possess, receive., and/or distribute child

   pornography by digital devices using the Internet often maintain and/or possess the items listed in

   Attachment R

                  Based upon my training and experience, as well as conversations with other

   experienced law enforcement officers and computer forensic exammers, l know that the

   development of digital devices has radically changed the way that child pomobrraphers obtain,

   distribute and store their contraband, Smartphones are digital devices, serve five functions in

   connection with child pornography: access, production, communication, dist:dbuticm, and storage.

   These devices store child pornography on the physical device and remotely in a service provider's

   storage facility (i.e. cloud computing). In this case, I arn aware that at leas1-1wo(2).o£.di;%it~r
                                                    ---
   devii;;es (cellular phone
                        -----,,---~~---~,_,         ____ to the Internet.
                               and computer) which connect  _,..,
                                                                               Thus there is reason to

   believe that other devices may have the same capability or maintain records or data related to the

   above listed charges.

           29.    I am also asking for autbo1ization to copy digital evidence stored on a server (or

    servers) in another location if a server can be remotely accessed front a computer, other digital




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   device, located in the Property or Vehicle, authorized to be searched by this           ,vammt.• This

   authorization would permit law enforcement to preserve the inte 6rrity of such evidence and prevent

    it from being tampered with or destroyed. I know, in my training and experience, that so-called

   "cloud service providers" arc quite common. Such providers store data on remote servers that

   customers can access from their home or any other location with Internet access. Exarnplcs of

    these services include Dropbox, Google Drive, Apple's iCloud, and Microsoft's OneDrive. These

    services also encompass common "web mail" such as Gmail and Yahoo! mail Customers can

    view, alter, create, copy and print data from these remote servers as if it was at the smne location

    as the customer. 'D1e customer ty1)ically owns and controls the data stored at the remote server

    while the electronic service provider mvns the server on which the data is stored. In my training

    an experience, law enforcement commonly do not discover that a target of a search warrant is

    utilizing a cloud service provider until the service of a search ,vammt takes place.

                   Preservation of '"cloud data" accessible by com.puters targeted by this warrant is

    paramount. After a connection to a cloud computing service is discovered, it could take lmv

    enforcement hours or days to obtain a second search warrant targeted at the service provider

    operating that service. But it could take mere seconds for data to be deleted from that service




    1
     The act ~ ) ~ g the data on a remote computer(s) is not a seizure under the Fourth Amendrnent
    becaus[it does not interfere with the possessory interest in the data. The data remain~cfanct
                                       0
    unaltered. Jt emains accessi '. the users or any party with shared acc~ss._The          C2J)}'.lng:ru:Jnc
    data·.wm have no impact on possessor;' rights and therefore it is not a seiz:11rnJJ.!1.Gfil:.JhsLfuur.th
    Amendment. See __!Xrizona v. Hicks (1982) 480 U.S. 321, 324 (recording of serial number-~n

        -,---~                             --
    suspected st<.:,len property was not seizure because it did not ''meaningfullv interfere" ,vith
    respondent1s 1?~Q.£Sa~resf1neither t11c serial number or the equipment); Bil1s v. AseHine
    (6th Cir-19-92) 958 F.2d 697, 707 (officer's photogrnphic recordl;~~ages of scene was
    not seizure be~itdid not "meaningfully interfere'' with any possessory interest)~----,
          ,..__               l'




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   remotely from anywhere in the world with an Internet connections. Furthennore, should a

   connection with a cloud computing service be closed as a result of the powering down and seizing

   of a computer authorized to be seized by this warrant, encryption mechanisms could prevent such

   a connection from being reopened and the data accessed in the future. Depending on the cloud

   service provider, should an open connection to the provider be closed, such encryption may not

   even be able to be bypassed should a warrant be served for data directly to the provider. If evidence

   is copied from a cloud computing service as a result of this vvammt, it wilJ be noted in the vvarrant's

   return when filed with the court. Law enforcement will seek an additional warrant for the search

   of any such copied data.
      ----------
           31.     Storing this infonnation can be intentional, ie., by saving a photo or video as a file

   on the device. Digital information, images and videos can also be retained unintentionally, e.g.,

   traces of the path of an electronic communication may be automatically stored in ISP client

    software.    Oflen, a digital device \vill automatically save transcripts or logs of electronic

   communications between its user and other users that have occurred over the Internet These logs

    arc commonly referred to as "chat logs," Some programs allow computer users to trade images

    while simultaneously engaging in electronic communications with each other. This is often

    referred to as "chatting," or "instant messaging."

           32.      Based upon my training and experience, as \VCll as conversations with other law

    enforcement officers and computer forensic examiners, I know that these

    often have great cvidentiary value in child pornography investigations, as they record

    communication in transcript fom1, show the date and time of such communication, and also may

    show the dates and times when images of child pornography were traded over the Internet. Such

    infonnation is often maintained by the internet service provider client software remotely for long




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   periods of time until overwritten by other data.
        -1

     (_;:~~=--~OMPUTKRS,              ELECTRONIC STORAGE, AND FORE,NSIC ANALYSIS
         //




              33.      As described above and in Attachment B, this application seeks permission to

   search for records and evidence that might be found on the Premises, in whatever form they are

   found, One form in which the records might be found is data stored on a comput~~~ive or
                                                                                             '      -=
   other storage media. Thus, the warrant applied for would authorize the seizure of electronic

    storage media or, potentially, the copying of electrcmically stored information, all under Rule

   4I(e)(2)(B).

          r·34~ )         submit that if a computer or storage medium is found on the Premises, there is
        ( __,,//
    probable cause to believe those records will be stored on that computer or storage medium, for at

    least the following reasons:

                                 Based on my knowledge, training, and experience, I know that computer

    files or remnants of such files can be recovered months or even years after they have been

    downloaded onto a storage medium, deleted, or vie,ved via the Internet.                Electronic files

    downloaded to a storage medium can be stored for years at little or no cost. Even when files have

    been deleted, they can be recovered months or years later using forensic tools. This is so because

    when a person "deletes" a file on a computer, the data contained in the file does not actually

    disappear; rafo~r~ that data remains on the storage medium until it is overwritten by new data.
                    /\"\
                    \_,_J;i,,)   Therefore, deleted files, or remnants of deleted files, may reside in free

    space or slack space,,~-that is, in space on the storage mediuxn that is not cunently being used by

    an active file-,,for long periods of time before they arc ovenvritten. 1n addition, a cornputer's

    operating system may also keep a record of deleted data in a "swap" or "recovery" file.




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                 ~~_;AVhoBy apart from user-generated files, computer storage media,--,in

   particular, computers' internal hard drivcs--<::ontain electronic evidence of how a computer has

   been used, what it has been used for, and who has used it. To .!:,rive a few examples, this forensic

   evidence can take the fonn of operating system configurations, artifacts from operating system or

   application operation~ file system data strnctures~ and virtual memory "swap" or paging files.

   Computer users typically do not erase or delete this evidence, because special software is typically

    required for that task. However, it is technically possible to delete this information.

                               Similarly, files that have been viewed via the Internet are sometimes

    automatically downloaded into a temporary Internet directory ort~~;)

                        further described in Attaclµn~~.!.J~.J}lis application seeks pennission to locate
                                                                                .....-·-----·--::,




                        __
    not only computer files that might serve as direct evidence of the crimes described on the warrant,

                                __,,,,,,evidence that establishes how
    but also for forensic. electronic
                                                                           c __"~-------------:,
                                                                                   were used, the purpose of

    their use, who used them, and \vhen. There is p13i!2~~11se to believe that this forensic electronic
                 ·---__.-/                                      (   ....   ------                    ····---

    evidence will be on any storage medium in the Premises because:
               ~
                           \
                                    ----          ·---------
                 (_~~~ Data on the storage medium can provide evidence of a file that was once on

    the storage medium but has since been deleted or edited, or of a deleted portion of a file (such as

    a paragraph that has been. deleted from a word processing file). Virtual rncmory paging systems

    can leave traces of infonnation on the storage medium that show what tasks and processes were

    recently active.    Web browsers, e-mail programs, and chat programs store configuration

    information on the storage medium that can reveal inforn1ation such as onlinc nicknames and

    passwords.    Operating systems can record additional infonnation, such as the attachment of

    peripherals, the attachment of USB flash storage devices or other external storage media, and the

    times the computer was in use. Computer file systems can record information about the dates files




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    were created and the sequence in which they were created, although this infonnation can later be

    falsified.

                          As explained herein, information stored within a computer and other

    electronic storage media may provide crucial evidence of the "who, what, why, when, ,vhere, and

    how" of the criminal conduct under investigati.on, thus enabling the United States to establish and

    prove each element or alternatively, to exclude the innocent from further suspicion. In my training

    and experience, information stored within a computer or storage media ( e.g., registry information,

    communications, images and movies, transactional information, records of session times and

    durations, internet history, and anti-virus, spyware, and malware detection programs) can indicate

    who has used or controlled the computer or storage media. This "user attribution" evidence is

    analogous to the search for "indicia of occupancy" while executing a search warrant at a residence.

    The existence or absence of anti-virus, spyware, and mahvare detection programs may indicate

    whether the computer was remotely accessed, thus inculpating or exculpating the computer owner.

    Further, computer and storage 1nedia activity can indicate how and when the computer or storage

    media was accessed or used.      For example, as described herein, computers typically contain

    infonnation that log computer user account session ti.mes and durations, computer activity

    associated with user accounts, electronic storage media that connected with the computer, and the

    IP addresses through which the computer accessed networks and the internet. Such information

    allows investigators to understand the chronological context of computer or electronic storage

    media access, use, and events relating to the crime under investigation.       Additionally, some

    infonnation stored within a computer or electronic storage media may provide crucial evidence

    relating to the physical location of other evidence and the suspect For example, irnagcs stored on

    a computer may both show a particular location and have geolocation information incorporated




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   into its file data. Such file data typically also contains information indicating \vhen the file or

   image was created. The existence of such image files, along with external device connection logs,

   may also indicate the presence of additional electronic storage media (e.g., a digital camera or

   cellular phone with an incorporated camera). The geographic and timelinc infonnation described

   herein may either inculpate or exculpate the computer user. Last, information stored within a

   computer may provide relevant insight into the computer user's state of mind as it relates to the

   offense under investigation. For example, in.formation within the computer may indicate the

   owner's motive and intent to commit a crime (e.g., internet searches indicating criminal planning),

    or consciousness of guilt (e.g., nmning a "\viping" program to destroy evidence on the computer

    or password protecting/encrypting such evidence in an effort to conceal it frorn law enforcement).

                          A person with appropriate familiarity with how a computer works can, after

    examining this forensic evidence in its proper context, draw conclusions about how computers

    were used, the purpose of their use, who used them, and when.

                          The process of identifying the exact files, blocks, re&,ristry entries, logs, or

    other forms of forensic evidence on a storage medium that are necessary to draw an accurate

    conclusion is a dynamic process. While it is possible to specify in advance the records to be

    sought, computer evidence is not always data that can be merely reviewed by a revie\v team and

    passed along to investigators. Whether data stored on a computer is evidence may depend on other

    i11formation stored on the computer and the application of knowledge about how a computer

    behaves. Therefore, contextual information necessary to understand other evidence also falls

    within the scope of the warrant.

                          Further, in finding evidence of hmv a computer was used, the purpose ofits

    use, who used it, a11d when, sometimes it is necessary to establish that a particular thing is not




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   present on a storage medium. For example, the presence or a'.bsence of counter-forensic programs

    or anti-virus programs (and associated data) may be relevant to establishing the user's intent.

                   In most cases, a thorough search of a premises for information that might be stored

    on storage rnedia often requires the seizure of the physical storage media and later off:.site review

    consistent with the warrant. In lieu of removing storage media from the premises, it is sometimes

    possible to make an image copy of storage media. Generally speaking, hnaging is the taking of a

    complete eJcctronic picture of the computer's data, including all hidden sectors and deleted files.

    Either seizure or imaging is often necessary to ensure the accuracy and completeness of data

    recorded on the storage media, and to prevent the loss of the data either from accidental or

    intentional destruction. This is true because of the following:

                           As noted above, not all evidence takes the form of documents and files that

    can be easily viewed on site. Analyzing evidence of how a computer has been used, what it has

    been used for, and who has used it requires considerable time, and taking tbat much time on

    premises could be unreasonable. As explained above, because the warrant calls for forensic

    electronic evidence, it is exceedingly likely that it wiH be necessary to thoroughly examine storage

    media to obtain evidence. Storage media can store a large volume of infonnation. Reviewing that

    infonnation for things described in the waJTant can take weeks or months, depending on the volume

    of data stored; and would be impractical and invasive to attempt on-site.
                   /~~
                / b)       Computers can be configured. in several difforent ways, featuring a variety

    of differenLt·ating systems, application software, and configurations. Therefore, searching

    them sometimes requires tools or knowledge that might not be present on the search site. The vast

    array ofcomputer hardware and software available makes it difficult to know before a search what

    tools or knmvledgc will be required to analyze the system and its data on the Premises, However,




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   taking the storage media off~site and revie\ving it in a controlled environment will alknv its

   examination with 0~teroper tools and knowledge.
                    //      \


                   ~~>ecords sought under this warrant could be stored in a variety of storage

   media formats that may require off-site reviewing with specialized forensic tools.

        ~           Based on the f~·egoi1~-;:-~siste1;t- ~ith Rule 41(e)(2)(B), the warrant I am



   appear to contain some or aH of the evidence described in the w~_r_r:a.xi_t,.JJJJd_J..\l.0111.d_authorize.zlater
                   ·--·--------·---------         -----------------·---··-. -----·---·-

   review of the media or 1nforrnation consistent with the warrant. The later revie\v may require
             ~----------~---..__ -----    -~    ---- ----------------- --- ________       _.



   techniques, including but not limited to computer-assisted scans of the entire medium, that might

   expose many parts of a hard drive to human inspection in order to detem1ine whether it is evidence

   described by the warrant

       ;,;8. ;) Based on my own experience and consultation with other agents who have been
      l   /"
               /


   involved in computer searches, searching for evidence or instrumentalities of a crime often

   requires the seizure of an of a computer system's input and output peripheral devices, related

   software, documentation, and data security devices (including passwords) so that a qualified

   computer expert can accurately retrieve the system's data in a laboratory or other controUed
                                    '

                   0
   environment. There are several reasons for tllis:

                                Peripheral devices that allow users to enter or retrieve data from the storage

   devices vary widely in their compatibility with other hardware and software. Many system storage

    devices require particular input/output devices in order to read the data on the system.                  It is

    important that the analyst be able to properly re-configure the system as it now operates in order

    to accurately retrieve the evidence listed above. In addition, the analyst needs the relevant system

    software (operating systems, interfaces, and hanhvare drivers) aml any applications software




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   which may have been used to create the data (whether stored on hard drives or on external media),

   as well as all related instruction manuals or documentation and data security devices; and

                           ln order to fully retrieve data from a computer system, the analyst also needs

   all magnetic storage devices, as well as the central processing unit (CPU). In cases like the instant

   one where the evidence consists pmily of image files, the monitor and printer are also essential to

   show the nature and quality of the graphic images which the system could produce. Further, the

   analyst again needs all the system software (operating systems or interfaces, and hardware drivers)

   and any applications software, which may have been used to create the data (whether stored on

   hard drives or on external media) for proper data ret1ieval.

                    I am familiar \vith and understand the implications of the Privacy Protection Act

   ("PPA"), 42 U.S.C. § 2000aa, and the role of this statute in protecting First Amendment activities.




   seized, all efforts will be made to return these materials to their authors as quickly as possible.



           40.      Based upon the information provided above, your Affiant respectfolly submits that

    probable cause exists to believe that there has been a violation of Title 18, United States Code,

    Section         and that evidence of said violation exist at the Target Premises located at 807
           --·--.
    University Boulevard, Apartment 104, Jupiter, f'lor~~1_lli58, as more fully described in
                     -----
    Attachment A of this affidavit, and in computers or electronic media therein.

              41.   Your Affiant, therefore, respectfully requests that the attached warrant be issued

    authorizing the search of the Target Premises, and any computers, electronic mobile devices, and




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   other electronic storage media therein, as fully described in Attachment A for iterns descri.bed in

   Attachment B of this affidavit.




   FURTHER YOUR AFF!ANT SAYET!l NAUGHT




                                                            Federal Bureau of Investigation



    Sworn and subscribed before me
        /   ?1        .
    this 2!!_ day of November, 2017.




    THE HONORABLE JAMES M. HOPKINS

    UNITED STATES MAGISTRATE JUDGE




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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA.

                               No.       17-8504-JMH

   IN RE: SEALED SEARCH ·wARRANT FOR
   A JUPITER RESIDENCE                                Fifod Under Seal
   -----------------I
                                  CIUMJNAL COVER SHEET

   l.    Did this matter originate from a matter pending in the Northern Region of the United
         States Attorney's Office prior to October 14, 2003?      ___Yes              x    No

   2.    Did this matter originate from a matter pending in the Central Region of the United States
         Attorney's Office prior to September 1, 2007?       _ _ _ Yes              x No



                                                      Respectfully Submitted,

                                                      BENJAMIN G. GREENBERG
                                                      ACTING UNITED STATES ATTORNEY


                                              By:     _ s/ Gregorv Schiller
                                                      GREGORY SCHILLER
                                                      ASSISTANT UNITED STATES ATTORNEY
                                                      Court No. A5501906
                                                      500 S. Australian A venue, Suite 400
                                                      West Palm Beach, FL 33401
                                                      Gregory.schiller@usdoj.gov




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                                   No.       17-8504-JMll
                                                                                      NOV 3 0 2017
   IN RE: SEALED SEARCH WARRANT FOR
   A JUPITER RESIDENCE
                                                                                   CLEHK
                                                                            _.....;;    ___________
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   -----------------I
                                           SEALING ORDER

          THIS CAUSE is before the Court on the United States of America's Motion to Seal.

   Being fully advised, 1T IS HEREBY ORDERED that the Application for Search Warrant,

   Affidavit in Support of Search Warrant, Attachments A and B to the Affidavit, Search Warrant,

   and Attachments A and B to the Search Wairant, all ofv,rhich are dated November 30, 2017, this

   Motion to Seal, and any resulting Order be SEALED untii the arrest of any defendant or until

   further order of this Court.    Hov,rever, the United States Attorney's Office or any other relevant

   htw enforcement agency may obtain copies of ,my of the sealed documents for purposes of

   executing the search warrant.



          DONE AND ORDERED in chambers in West Palm Beach, Florida, this                      }_i)_ day of
   November 2017.




                                                            fl ~ 1,1r/\✓,                         c'~
                                                               RABLE JAMES 1 • OPKINS
                                                          UNITED STATES MAGISTRATE JUDGE


    cc: AUSA Gregory Schiller




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